Case 2:04-cV-02589-.]P|\/|-de Document 90 Filed 07/22/05 Page 1 of 2 Page|D 88

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IN THE UNITED STATES DISTRICT COURT
FoR THE WESTERN DISTRICT oF TENNESSEE 05 JUL 22 AH 6= 38
WESTERN DIVISION

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ACH Foor) coMPANIES, INC., C’-ERK» U-:-°»-i-_*_»°Jll°£$T,CGUHT
W!D GF »i-s, tt:itr’HlS
vS. No. 04-_2589-13/\/ L/
(Consolldated)
WISCON CORP.,
ACH FOOD COMPANIES, INC.,
vs. No. 04-2892-B/V

WISCON CORP.,

 

ORDER OF TRANSFER

 

On July 12, 2005, District Judge Jon P. McCalla entered an order transferring
Nacco Materials Handling Group` Inc.. et al. v. The Lillv Comnanv and Mid South Lift
T_ru_ck_s, No. 05-2165, to the undersigned In order to maintain parity among the judges,
the above matter is hereby transferred to Judge McCalla. The parties shall, on all
pleadings and correspondence related to this matter, change the judge’s initials in the
case number from 04-2589-B/V to 04-2589-M1/V.

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IT ls So 0RDEREI) this 21 day Of July, 2005.

[

ll DAN]EL BREEN
IT D STATES DISTRIC JUDGE

 

 

Thie document entered on the docket sheet in oomp§iance
with mule 58 and/or 7e(a) FHCP on T 5

   

' TATES DISTRiCT COURT- WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 90 in
case 2:04-CV-02589 Was distributed by faX, mail, or direct printing on
.1 uly 22, 2005 to the parties listed

 

 

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Honorable .1 on McCalla
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